Case 1:21-cv-21940-BB Document 487 Entered on FLSD Docket 07/21/2025 Page 1 of 18




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                               Case No. 21-cv-21940-BLOOM/Torres
    NEIMA BENAVIDES, as Personal Representative
    of the Estate of Naibel Benavides Leon, deceased,
           Plaintiff,
    v.
    TESLA, INC., a/k/a Tesla Florida, Inc.,
           Defendant.                                      /
    DILLON ANGULO,                                                     Case No. 22-22607-KMM
           Plaintiff,
    v.
    TESLA, INC. a/k/a Tesla Florida, Inc.,
           Defendant.                                      /

       DEFENDANT TESLA, INC.’S MOTION FOR RELIEF IN RESPONSE TO
    PLAINTIFFS’ REPEATED VIOLATIONS OF THE COURT’S IN LIMINE ORDERS

         Plaintiffs have established a pattern, from the very first moments of this trial, of discussing

  and offering evidence in the presence of the jury that the Court has excluded. First, in their

  opening, they referenced excluded portions of an NTSB report that contained the NTSB’s

  recommendations. Next, they offered two partially redacted exhibits that contained references to

  a number of other incidents including ones that post-dated this crash and that, therefore, violated

  the Court’s order that reference could only be made to such events for purposes of establishing

  Tesla had notice of them prior to the subject. Then, after Tesla raised objections to these

  documents, Plaintiffs persisted in offering one of them without redacting portions that discussed

  Tesla’s Autopilot recall by referencing a “Defect Information Report” (simply another name for

  the recall), which the Court had ordered (and reiterated) was excluded.

         Plaintiffs exacerbated this violation by eliciting testimony (including through leading

  questions) from their expert, Dr. Mary Cummings, that focused on the portions of the exhibit that

                                                   1
  32198860v1
Case 1:21-cv-21940-BB Document 487 Entered on FLSD Docket 07/21/2025 Page 2 of 18




  referenced the excluded recall. These violations of the Court’s order excluding the recall as a

  subsequent remedial measure have placed Tesla in the untenable position of having to respond to

  this improper evidence by explaining it (indeed, Plaintiffs’ expert misrepresented the facts about

  the recall) while knowing that, as soon as it does, Plaintiffs will assert Tesla has opened the door

  to further discussion of the recall.

          This concern is especially acute because, as the record now stands, the jury has heard

  evidence that Tesla informed NHTSA that it agreed Autopilot is defective, while leaving the jury

  with the impression that Tesla has done nothing to remedy the alleged Autopilot defect. Neither

  is true, however, because (a) Tesla stated when it filed its recall notice that it did not concur with

  NHTSA’s belief that Autopilot was defective, and (b) Tesla nevertheless issued the recall to

  provide countermeasures to the Autopilot features that NHTSA had criticized. Moreover, the

  recall did not seek to address factual scenarios like the one here, where a driver had momentarily

  looked away from the road to retrieve a dropped cell phone while he was having an important call,

  and the countermeasures associated the recall would have not prevented the crash he caused by

  way of his inattention.

          The record evidence does not support any of these conclusion and yet, thanks to Plaintiffs

  gamesmanship that is the impression with which the jury has been left. These serial violations of

  the Court’s exclusionary orders have already unfairly prejudiced Tesla’s ability to obtain a fair

  trial, and this unfair prejudice will only grow if Tesla is not permitted to contextualize and explain

  the facts about the recall and if Plaintiffs are not admonished to immediately cease violating, and

  otherwise attempting to circumvent, the Court’s orders that have excluded certain clearly defined

  evidence. For this reason, by way of this Motion, Tesla respectfully requests:

               a) The Court permit Tesla to provide evidence that contextualizes and clarifies the



                                                    2
  32198860v1
Case 1:21-cv-21940-BB Document 487 Entered on FLSD Docket 07/21/2025 Page 3 of 18




                   record concerning the “Defect Information Report” without finding that Tesla has

                   opened the door to still further discussion of the excluded recall;

                b) That the exhibits Plaintiffs have already offered into evidence that contain

                   unredacted references to the recall be further redacted to remove those references;

                c) That Plaintiffs be precluded from offering additional evidence of the recall and not

                   be permitted to circumvent such a ruling by using the synonymous term “Defect

                   Information Report”;

                d) That Plaintiffs be precluded from making arguments in closing that refer to

                   improperly    submitted    evidence    about    the   recall,   the   NTSB’s   safety

                   recommendations, and the portions of the other incidents investigated by NHTSA

                   that occurred after the subject incident; and

                e) That Plaintiffs be admonished that they must immediately cease their efforts to

                   circumvent or offer evidence that violates the Court’s exclusionary orders and that

                   they must first seek clarification about whether evidence they intend to offer will

                   violate the Court’s orders when there is any reasonable possibility or risk that the

                   evidence could be viewed as doing so.

         Although this relief will not fully remedy the unfair prejudice that their serial violations

  have created for Tesla, it is the minimum that is necessary to alleviate, to some extent, that unfair

  prejudice.1




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    Recognizing that “curative instructions do not always eradicate the prejudice resulting from an
  improper argument,” McWhorter v. City of Birmingham, 906 F.2d 674, 678 (11th Cir. 1990). Tesla
  reserves their right to additional relief based on the manner in which the case proceeds.

                                                     3
  32198860v1
Case 1:21-cv-21940-BB Document 487 Entered on FLSD Docket 07/21/2025 Page 4 of 18




  I.      PLAINTIFFS’ PATTERN OF VIOLATING THE COURT’S ORDERS

          A.      The NTSB Report Order

          The evening before trial, the Court entered an order finding that Plaintiffs are precluded

  from referencing the NTSB Board reports, the legal conclusions, opinions or probable cause

  determinations of the NTSB before the jury. (ECF No. 466 at 12).

          Before the order was received, the parties had exchanged their power point slides for

  opening statements. Because Plaintiffs slides had included references to the precluded NTSB

  material, and to ensure that the order was complied with, Tesla’s counsel sent an email reminding

  Plaintiffs to revise their opening to reflect that ruling.

          Instead, to Tesla’s surprise and great prejudice, less than one minute after beginning their

  opening statement, Plaintiffs violated this Court’s NTSB Order by stating:

                  Tesla chose to put its enhanced Autopilot technology on the roadways of
                  this community knowing full well that the leading government agencies for
                  transportation safety in this country NHTSA the National Highway Traffic
                  Safety Administration, and the NTSB, the National Transportation Safety
                  Board, don't worry, there's going to be an acronym chart -- they had been
                  telling Tesla for years to make its product safer.

  (Tran. 7/14/25 at 164:1-8).

          The Court overruled the objection, presumably not realizing or expecting that Plaintiffs

  would blatantly violate a court order. Emboldened by the Court’s ruling, Plaintiffs’ counsel

  continued:

                  You'll learn that within weeks of the Brown crash NHTSA, National
                  Highway Traffic Safety Administration is the government agency that is
                  charged with keeping your public roadways say. They along with the NTSB,
                  National Transportation Safety Board, that's the independently federal
                  agency considered by most to be the leader in major accident investigations
                  in the world, if it's a plane, if it's a train, if it's a railroad or an autonomous
                  vehicle, the NTSB are oftentimes the leading experts two who get the
                  involved. They opened an investigation into Autopilot.



                                                      4
  32198860v1
Case 1:21-cv-21940-BB Document 487 Entered on FLSD Docket 07/21/2025 Page 5 of 18




                 And so on the heels of this the government investigators conclude that Tesla
                 failed to adequate consider [the] human element and they issued safety
                 recommendations. Right and really what we're talking about here and what
                 the evidence will show is that this is what happens when you introduce
                 automation because you can rather than because you should.

                 And you'll learn it's Court's Exhibit or Plaintiff's Exhibit 79 and 81. There
                 two safety recommendations that are issued. And the first talks about the
                 importance of improving driver monitor. The safety recommendation
                 number 11741 – a lot of acronyms, a lot of numbers. It's the government. I
                 didn't come up with it -- they talk about the importance of improving driver
                 monitoring.

                 The other safety recommendation is that they need to limit the use of
                 Autopilot another acronym for you. Limit it to its Operational Design
                 Domain.

  (Tran. 7/14/25 at 170:13-22; 172:11-173:1).

         Amid these statements, Plaintiffs also used a power point slide that showed the jury

  highlighted excerpts of Exhibits P-79 and P-81—which are NTSB findings—both of which

  reference material clearly proscribed by the Court’s NTSB Order. (Ex. A, P-79, titled “Safety

  Recommendation H-17-041”) and (Ex. B, P-81, titled Safety Recommendation H-17 -42).

         The Court has since confirmed its exclusion of the Safety Recommendations portion of the

  NTSB report. (ECF No. 286). This goes directly to the heart of Plaintiffs’ theory that Autopilot

  insufficiently monitored drivers. Unfortunately, it was just the precursor of what was to come.

         B.      Plaintiffs’ Violations of the Court’s Order Excluding References to Tesla’s
                 Autopilot Recall

         Additionally, in its Omnibus Order on the parties’ motions in limine, the Court correctly

  precluded subsequent remedial measures as evidence of “Tesla’s culpability.” (ECF No. 433 at

  31). As the Court recognized, such evidence is plainly excluded under Federal Rule of Evidence

  407, which makes clear that evidence of “remedial measures taken after an incident . . . is

  inadmissible to prove negligence or culpable conduct[.]”.




                                                   5
  32198860v1
Case 1:21-cv-21940-BB Document 487 Entered on FLSD Docket 07/21/2025 Page 6 of 18




                 1.      Plaintiffs Violated Court Orders By Introducing Evidence of
                         Subsequent Remedial Measures Related to The Voluntary Recall.

          On the morning of July 17, 2025, before the jury entered the courtroom, Plaintiffs indicated

  that they intended to offer partially redacted versions of Exhibit P-61, which is the NHTSA ODI’s

  closing resume for its Autopilot investigation (EA 22-002), and Exhibit P-63, which is a

  supplement NHTSA issued to that closing resume. (See Tran. 7/17/25 AM Rough Trial Transcript,

  at pp. 2-9; Ex. C, P-63 with Plaintiffs’ redactions; Ex. D, P-63 without redactions; Ex. E, P-61

  with Plaintiffs’ redactions; Ex. F, P-61 without redactions). Tesla objected that “these should be

  excluded in whole because of—they relate to subsequent remedial measures. This is in 2024, not

  in 2019. And all of it is and was feasible. Your Honor, this is an effort to work around a ruling

  that is correct, Your Honor.” (7/17/25 AM Rough Trial Transcript at p. 9).

          In light of this objection, and Tesla’s assertion that it was not contesting the feasibility of

  the countermeasures contained in the recall, the Court permitted the parties to negotiate a

  stipulation concerning that feasibility, the entry of which the Court ruled would confirm that the

  Court’s exclusion of the recall would remain in place. (Id. at pp. 9-17). Specifically, the Court

  stated, “Then given the feasibility, even though Tesla has argued state-of-the-art, given the

  stipulation, then there’s no longer any opening of the door to admit any issue with the recall.” (Id.

  at p. 18).

          Immediately after these events, Plaintiffs called their expert, Dr. Mary Cummings. That

  afternoon, she was shown Plaintiffs’ Exhibit 61, which included redactions to comport with the

  Court’s exclusion not of the recall, but of other incidents NHTSA had considered after the date of

  the subject crash.2 However, the exhibit was not redacted to reflect the Court’s above-described


  2
    The Court had previously excluded all references to 211 other incidents that NHTSA had
  considered in the course of its investigation of Autopilot. (See ECF No. 466 at pp. 13-15).
  However, the Court later reconsidered this exclusion, ordering instead that the portion of these

                                                    6
  32198860v1
Case 1:21-cv-21940-BB Document 487 Entered on FLSD Docket 07/21/2025 Page 7 of 18




  ruling concerning references to the recall. At the time it was offered, Tesla stated, “Assuming you

  were presenting the redacted version, we have no objection.” (7/17/25 PM Rough Trial Transcript

  at p. 81). In response, Plaintiffs’ counsel stated, “Yes, I am, counsel.” (Id.).

          After counsel began his examination of Dr. Cummings about the document, Tesla objected,

  and requested a sidebar, on the grounds that Plaintiffs had not properly redacted the document to

  comport with the Court’s ruling concerning the other incidents. Rather than hold a sidebar, the

  Court dismissed the jury for the day and then held argument, wherein Plaintiffs’ counsel agreed to

  “parse it further” in regard to the documents references to admissible and excluded other incidents.

  (Id. at p. 87).

          The next day, when questioning of Dr. Cummings resumed, Plaintiffs showed a version of

  P-61 to the jury that did not contain redactions to the references to the recall.3 Images of the

  version they showed, with yellow highlights added to demonstrate the portions that referenced the

  recall are provided below:




  incidents that pre-dated the subject crash could be admitted for the limiting purpose of showing
  notice to Tesla, which the Court found had a more relaxed standard for substantial similarity than
  the standard that applies when other incidents are offered for other purposes. (See 7/17/25 PM
  Rough Trial Transcript at p. 2; ECF No. 486 at pp. 145-15).
  3
    Immediately prior to this, Plaintiffs’ counsel handed Tesla’s counsel a redacted version of the
  exhibit, the Court heard argument concerning yet another failure by Plaintiffs to properly redact
  the exhibit to comply with the Court’s orders regarding the other incidents described above.

                                                    7
  32198860v1
Case 1:21-cv-21940-BB Document 487 Entered on FLSD Docket 07/21/2025 Page 8 of 18




                                        8
  32198860v1
Case 1:21-cv-21940-BB Document 487 Entered on FLSD Docket 07/21/2025 Page 9 of 18




  (Ex. F at pp. 2-3)

         “Defect Information Report” (DIR) is another name for the recall. It is the title of the

  document, which is sometimes called a Part 573 Report, that auto manufacturers submit to NHTSA

  when they initiate a recall. As NHTSA has explained, “A recall is typically initiated when a

  manufacturer files a Part 573 Defect Information Report identifying a safety defect, often called a

  DIR or Part 573 Report.” (Ex. G, NHTSA’s Risk-Based Processes for Safety Defect Analysis and

  Management of Recalls, at p. 12); see also 49 CFR 573—Defect and Noncompliance

  Responsibility and Reports. The DIR itself makes this clear; it is titled “Part 573 Recall Report

  23V-838” and an image of its first page is provided below:




                                                  9
  32198860v1
Case 1:21-cv-21940-BB Document 487 Entered on FLSD Docket 07/21/2025 Page 10 of 18




   (Ex. H, Tesla’s Defect Information Report/Part 573 Report Initiating Recall).

          In addition to showing the jury Exhibit P-63, with its unredacted references to the recall,

   Plaintiffs elicited testimony from Dr. Cummings wherein she referenced the DIR and described it

                                                  10
   32198860v1
Case 1:21-cv-21940-BB Document 487 Entered on FLSD Docket 07/21/2025 Page 11 of 18




   as “Tesla’s statement that indeed their technology is defective;” stated, “NHTSA did an

   investigation. Determined there was enough evidence to suggest that the Driver Monitoring

   System and Autopilot was defective, Tesla agreed;” and, in response to a leading question, agreed

   that other auto manufacturers had not “filed a defect information report applicable to all models

   they have ever produced equipped with any version of their Level 2 autonomous features.”

   (7/17/25 AM Rough Transcript at pp. 13-15 and 7/17/25 PM Rough Transcript, at p. 27).

          Clearly, this exhibit and testimony violated the Court’s exclusion of the recall issue.

   Indeed, the redactions Plaintiffs did make obscured for the Court that their references to the DIR

   were in fact references to the recall by another name. The following images are of the unredacted

   pages of the exhibit, with green highlights applied where redactions were placed that removed the

   word “recall,” while, at the same time, suggesting that the DIR was something other than the recall.




                                                   11
   32198860v1
Case 1:21-cv-21940-BB Document 487 Entered on FLSD Docket 07/21/2025 Page 12 of 18




   (Ex. E, Unredacted Version of P-61 with Green Highlights Showing Redactions)



                                               12
   32198860v1
Case 1:21-cv-21940-BB Document 487 Entered on FLSD Docket 07/21/2025 Page 13 of 18




          These redactions leave no doubt that Plaintiffs were aware that the DIR was the recall and

   that they were engaged in an effort to circumvent the Court’s exclusion of the recall.

                  2.      Fairness Requires Tesla Be Permitted To Clarify The Record
                          Concerning The Recall

          Plaintiffs not only violated the Court’s order, but exacerbated that violation by

   misrepresenting Tesla’s statements in the DIR. Specifically, as described above, Dr. Cummings

   testified that Tesla agreed in the DIR with NHTSA’s view that Autopilot was defective. That is

   false. Instead, Tesla stated in the DIR, “While not concurring with the agency’s analysis, in the

   interest of resolving EA22-002, Tesla determined on December 5, 2023, to voluntarily

   administer a recall and provide the remedy described below.” (Ex. H, Recall at p. 4).

          Moreover, Plaintiffs’ violation of the Court’s order has left the jury with the impression

   that Tesla agreed not only that Autopilot was defective but has done nothing to remedy that defect.

   In fact, though Tesla did not agree Autopilot was defective, it developed five countermeasures in

   the form of software updates, that modified the driver monitoring system in its vehicles. None of

   these countermeasures would have made a difference in this case, where Mr. McGee had his hand

   on the wheel and his foot on the accelerator pedal. The following table briefly summarizes the

   countermeasures and the reasons they would not have made a difference here, which Tesla will

   now need to explain to the jury to help alleviate unfair prejudice created by Plaintiffs’ violation of

   the Court’s order:

             Countermeasure                              Why Countermeasure Is
                                                         Irrelevant

             Additional hands-on reminders within Mr. McGee’s hands were detected as
             moments of engaging Autopilot        on the wheel

             Change in location on the touch screen The subject vehicle is Model S
             of hands-on reminders in the Model 3
             and Model Y


                                                    13
   32198860v1
Case 1:21-cv-21940-BB Document 487 Entered on FLSD Docket 07/21/2025 Page 14 of 18




             Change in method of activating There is no dispute that Mr. McGee
             Autopilot from two pulls on the had engaged Autopilot prior to the
             activating stalk to just one pull crash

             Hands-on reminders issues more Mr. McGee’s hands were detected as
             frequently when vehicles are off- on the wheel, and stop sign detection
             highway and approaching stop signs technology had not yet been released
                                                at the time of the crash (this remedy
                                                following introduction of traffic
                                                control detection in 2020)

             Eventual suspension of Autopilot when Mr. McGee’s hands were detected as
             a driver repeatedly fails to demonstrate on the wheel
             continuous and sustained responsibility
             when Autopilot is engaged


          Plaintiffs’ violation of the Court’s order has created the current situation that requires Tesla

   to explain this information to the jury. They should not be rewarded for their violation by a ruling

   that Tesla’s present need to explain this information thereby opens the door to still further

   discussion of the recall.

   II.    PLAINTIFFS’ VIOLATIONS OF THIS COURT’S ORDERS MUST BE
          REMEDIED.

          Plaintiffs’ blatant violation of the order precluding evidence of the NTSB report and

   recommendation set the stage for a trial that is divorced from the rules of evidence. And then, as

   detailed above, Plaintiffs introduced a Defect Information Report (“DIR”) that clearly describes

   subsequent remedial measures taken by Tesla following a series of unrelated accidents. Following

   that, they elicited testimony from their expert which misstated Tesla’s response to the NHTSA

   investigation.

          Plaintiffs’ violation of the Court’s order precluding references to the recall has created a

   lasting impression in the minds of the jurors that Tesla believes and agrees with Plaintiffs that its

   Autopilot system is defective and yet has done nothing to address those safety issues. Neither is

   true, however, because (a) Tesla stated when it filed its recall notice that it did not concur with

                                                    14
   32198860v1
Case 1:21-cv-21940-BB Document 487 Entered on FLSD Docket 07/21/2025 Page 15 of 18




   NHTSA’s belief that Autopilot was defective, and (b) Tesla nevertheless issued the recall in order

   to provide countermeasures to the Autopilot features that NHTSA had criticized. Moreover, the

   recall did not seek to address factual scenarios like the one here, where a driver had momentarily

   looked away from the road to retrieve a dropped cell phone while he was having an important call,

   and the countermeasures associated the recall would have not prevented the crash he caused by

   way of his inattention.

          As a result, Plaintiffs have now placed Tesla in the untenable position of needing to re-

   raise and further discuss the recall to combat the false impressions Plaintiffs’ inadmissible

   evidence has created. They should be permitted to do so, however without the risk that its inquiry

   be deemed to open the door for Plaintiffs to further exploit their violation. See Tambourine

   Comercio Internacional SA v. Solowsky, 312 F. App'x 263, 289 (11th Cir. 2009) (“Under th[e

   curative admissibility] doctrine, when a party offers inadmissible evidence before a jury, the court

   may in its discretion allow the opposing party to offer otherwise inadmissible evidence on the same

   matter to rebut any unfair prejudice created.”).

          For these reasons, Tesla respectfully requests the following relief:

                a) The Court permit Tesla to provide evidence that contextualizes and clarifies the

                   record concerning the “Defect Information Report” without finding that Tesla has

                   opened the door to still further discussion of the excluded DIR/recall;

                b) That the exhibits Plaintiffs have already offered into evidence that contain

                   unredacted references to the recall be further redacted to remove those references;

                c) That Plaintiffs be precluded from offering additional evidence of the recall and not

                   be permitted to circumvent such a ruling by using the synonymous term “Defect

                   Information Report”;



                                                      15
   32198860v1
Case 1:21-cv-21940-BB Document 487 Entered on FLSD Docket 07/21/2025 Page 16 of 18




                d) That Plaintiffs be precluded from making arguments in closing that refer to

                   improperly     submitted   evidence    about    the   recall,   the   NTSB’s   safety

                   recommendations, and the portions of the other incidents investigated by NHTSA

                   that occurred after the subject incident; and

                e) That Plaintiffs be admonished that they must immediately cease their efforts to

                   circumvent or offer evidence that violates the Court’s exclusionary orders and that

                   they must first seek clarification about whether evidence they intend to offer will

                   violate the Court’s orders when there is any reasonable possibility or risk that the

                   evidence could be viewed as doing so.

                                              CONCLUSION

          Tesla deserves a fair trial and has not received one because of Plaintiffs’ flagrant violations

   of this Court’s orders. This must stop. For this reason, Tesla respectfully requests the Court grant

   the relief requested herein.

                                       [Signature Page to Follow]




                                                    16
   32198860v1
Case 1:21-cv-21940-BB Document 487 Entered on FLSD Docket 07/21/2025 Page 17 of 18




    Dated: July 20, 2025                     Respectfully submitted,

                                             /s/ Wendy F. Lumish
                                             WHITNEY V. CRUZ
                                             Florida Bar No. 800821
                                             WENDY F. LUMISH
                                             Florida Bar No. 334332
                                             Bowman and Brooke LLP
                                             Two Alhambra Plaza, Suite 800
                                             Coral Gables, FL 33134
                                             Tel. 305-995-5600 / Fax: 305-995-6100
                                             whitney.cruz@bowmanandbrooke.com
                                             wendy.lumish@bowmanandbrooke.com

                                             THOMAS P. BRANIGAN
                                             (Admitted Pro Hac Vice)
                                             DREW P. BRANIGAN
                                             (Admitted Pro Hac Vice)
                                             BOWMAN AND BROOKE LLP
                                             101 W. Big Beaver Road, Suite 1100
                                             Troy, MI 48084
                                             Tel. 248-205-3300 / Fax: 248-205-3399
                                             thomas.branigan@bowmanandbrooke.com
                                             drew.branigan@bowmanandbrooke.com

                                             JOEL SMITH
                                             (Admitted Pro Hac Vice)
                                             BOWMAN AND BROOKE LLP
                                             1441 Main Street, Suite 1200
                                             Columbia, SC 2920
                                             Tel. 803-726-7420 / Fax: 803.726.7421
                                             Joel.Smith@bowmanandbrooke.com

                                             HILARIE BASS
                                             Florida Bar No. 334243
                                             HILARIE BASS, ESQUIRE LLC
                                             2821 Bayshore Drive, UPH-B
                                             Miami, FL 33133
                                             Tel. 305-505-8777
                                             bassh@bassinstitute.org

                                             Attorneys for Defendant TESLA, Inc.




                                        17
   32198860v1
Case 1:21-cv-21940-BB Document 487 Entered on FLSD Docket 07/21/2025 Page 18 of 18




                                   CERTIFICATE OF SERVICE

          I hereby certify that on July 20, 2025, I electronically filed the foregoing document with

   the Clerk of the Court using the CM/ECF system which will send notification of such filing to the

   following:

    Adam T. Boumel, Esq.                               Todd Poses, Esq.
    Florida Bar No. 0110727                            Florida Bar No. 0075922
    THE ROUSSO, BOUMEL LAW FIRM, PLLC                  POSES & POSES, P.A.
    9350 South Dixie Highway                           Alfred I. Dupont Building
    Suite 1520                                         169 East Flagler Street, Suite 1600
    Miami, FL 33156                                    Miami, FL 33131
    Tel. 305-670-6669                                  Tel. 305-577-0200
    adam@roussolawfirm.com                             Fax: 305-371-3550
    assistant@roussolawfirm.com                        tposes@posesandposes.com
    pleadings@roussolawfirm.com                        maria@posesandposes.com
    Attorneys for Plaintiff Dillon Angulo              Attorneys for Plaintiff Neima Benavides

    Brett Schreiber, Esq.                              Douglas F. Eaton, Esq.
    Admitted Pro Hac Vice                              Florida Bar No. 0129577
    Satyarinivas “Srinivas” Hanumadass, Esq.           EATON & WOLK PL
    Admitted Pro Hac Vice                              2665 South Bayshore Drive, Suite 609
    Carmela Birnbaum, Esq.                             Miami, FL 33133
    Admitted Pro Hac Vice                              Tel. 305-249-1640
    SINGLETON SCHRIEBER                                Fax: 786-350-3079
    591 Camino de la Reina, Suite 1025                 deaton@eatonwolk.com
    San Diego, CA 92108                                cgarcia@eatonwolk.com
    bschreiber@singletonschreiber.com                  lhuete@eatonwolk.com
    vas@singletonschreiber.com
                                                       Co-Counsel for Plaintiffs Dillon Angulo and
    cbirnbaum@singletonschreiber.com
                                                       Neima Benavides
    jjusto@singletonschreiber.com
    eelms@singletonschreiber.com
    service@singletonschreiber.com
    Co-Counsel for Plaintiffs Dillon Angulo and
    Neima Benavides
                                                       s/ Wendy F. Lumish




                                                  18
   32198860v1
